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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                           )         CASE NO. 1:10CR387
                                                    )
                                                    )
                           PLAINTIFF,               )         JUDGE SARA LIOI
                                                    )
vs.                                                 )
                                                    )         OPINION & ORDER
                                                    )
                                                    )
BRIDGET M. McCAFFERTY,                              )
                                                    )
                                                    )
                          DEFENDANT.                )


                  Before the Court are a series of pre-trial motions. Specifically, the Court

shall address:

                 the defendant’s motion to dismiss the indictment or to compel the
                  government to elect on the grounds of duplicity (Doc. No. 135);

                 the defendant’s motion to dismiss the supplemental indictment for failure
                  to state an offense (Doc. No. 198);

                 the defendant’s motion to dismiss the supplemental indictment or to
                  compel the government to elect among various counts on the grounds of
                  multiplicity (Doc. No. 199); and

                 the defendant’s (revised) motion for a bill of particulars (Doc. No. 200).

The government has responded to all motions.1 On March 10, 2011, the Court held a


1
  Also pending are the defendant’s motion to exclude a certain recorded phone conversation (Doc. No.
215), and the government’s motion to preclude the defendant from offering her own out-of-court statements
and to permit the introduction of statements of co-conspirators (Doc. No. 214). The Court will receive the
government’s proffer on the use of co-conspirators’ statements on March 18, 2011, immediately after jury
selection. Also pending is the defendant’s motion to preclude the government from offering the testimony
of its expert on the subject of judicial canons. (Doc. No. 216.) The Court shall issue a ruling on this motion
in due course.
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hearing on the motions that were at issue.2 The Court is now prepared to issue a ruling on

these motions.3

Background

                 A review of the procedural history in this criminal matter is essential to

understanding the current state of the government’s case against the defendant. On

September 14, 2010, the government filed a 26-count Indictment against six defendants,

including Defendant Bridget M. McCafferty (McCafferty or the defendant).4 The

Indictment grew out of an expansive investigation, conducted over a number of years,

into allegations of public corruption and conspiracy in Cuyahoga County, Ohio. The

charges against McCafferty were contained in Count 25, ¶ 390, and were limited to

allegations that McCafferty violated 18 U.S.C. § 1001 by making five false statements to

an FBI agent during the course of an investigatory interview. Specifically, ¶ 390

provides:

         On or about September 23, 2008, in the Northern District of Ohio, Eastern
         Division, Defendant BRIDGET M. MCCAFFERTY knowingly and
         willfully made the following false statements in a matter within the
         jurisdiction of the executive branch of the Government of the United
         States; (1) MCCAFFERTY denied that Dimora attempted to intervene in
         any cases before her court; (2) when asked if MCCAFFERTY called
         Pumper after a settlement conference (concerning the DAS case) and told
         Pumper that she tried to settle the case for less money, MCCAFFERTY
         denied the conversation occurred; (3) MCCAFFERTY denied that Frank
         Russo ever spoke to her about any cases in her court; (4) MCCAFFERTY
         denied giving Frank Russo any special consideration with regard to any
         cases before her; (5) MCCAFFERTY indicated that her only conversation

2
  The Court had previously entertained oral argument on the defendant’s original motions to dismiss for
duplicity and failure to state an offense on January 27, 2011.
3
  This ruling pertains only to Defendant McCafferty, based upon the arguments raised and evidence
submitted by the government and Defendant McCafferty in this severed case.
4
  Along with McCafferty, defendants James C. Dimora, Robert W. Rybak, Jerry J. Skuhrovec, Michael D.
Gabor, and William N. Neiheiser were also indicted. On December 7, 2010, the Court granted
McCafferty’s motion to sever her case from the other indicted defendants. (See Doc. No. 109.)
                                                       2
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         with Russo about her court would have been Russo or Dimora’s remarks
         that they heard from attorneys that she was doing a good job as a judge;
         well knowing at the time that she made those statements to Special Agents
         of the FBI that such statements were false.

                 On January 13, 2011, the defendant filed a motion to dismiss the

Indictment as to the defendant on duplicity grounds. Specifically, the defendant argued

that the charging of five separate false statements in a single count rendered the

Indictment duplicitous. (See Doc. No. 135.) At the January 27, 2011 hearing on this

motion, the Court asked defense counsel if it would have been preferable if the

government had separated the five statements into five separate counts, exposing the

defendant to five times the potential prison time.5 Defense counsel stated that it would

have been preferable to charge the defendant with multiple counts under 28 U.S.C. §

1001. The Court took all of the then-pending motions, including the motion addressing

the issue of duplicity, under advisement.

                 On February 8, 2011, before the Court could issue its ruling on the

pending motions, the Grand Jury returned a Supplemental Indictment against the

defendant. (Doc. No. 181.) The Supplemental Indictment had the effect of taking the five

false statements identified in the original Indictment as the false statements the defendant

was alleged to have made, and separating them out into five distinct counts. The

Supplemental Indictment also included five new false statements that did not appear in


5
 Specifically, the court inquired: “So it would be better to have five separate counts?” Defense counsel J.
Michael Murray responded: “Yes. That’s what the – the device [sic] of a duplicitous indictment, which they
outline, they’re all kind of ways in which a defendant is prejudiced.” (January 27, 2011 Hearing TR at 34-
35.)




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the Indictment. In total, the defendant is now charged with ten counts of making false

statements in violation of 18 U.S.C. § 1001.

               The 10 false statements the defendant is now alleged to have made to the

FBI agent are as follows: Count One alleges that the defendant “denied that Dimora

attempted to influence her actions in any of the cases before her court;” Count Two

alleges that the defendant “denied that Dimora attempted to intervene in any cases before

her court;” Count Three alleges that the defendant “denied any involvement by Dimora in

any of the cases before her court;” Count Four alleges that the defendant “denied telling

Pumper that she tried to settle the DAS case for less money;” Count Five alleges that the

defendant “denied trying to sway the DAS case settlement negotiations for Pumper;”

Count Six alleges that the defendant “denied trying to settle the DAS case so that Pumper

would pay less;” Count Seven alleges that the defendant “denied that Frank Russo ever

spoke to her about any of the cases in her court;” Count Eight alleges that the defendant

“said that her only conversations with Russo about her court would have been Russo’s

remarks that he heard from attorneys that she was doing a good job as a judge;” Count

Nine alleges that the defendant “said that the closest thing about a case that either Dimora

or Russo would have said to her was that he (Dimora or Russo) knew an attorney who

said that he (the attorney) was in MCCAFERTY’s court;” and Count Ten alleges that the

defendant “denied giving Frank Russo any special consideration with regard to any of the

cases before her court.” (Doc. No. 181.)

               It is interesting to note that the government did not ask the Grand Jury to

return a “superseding indictment,” but, instead requested and received what the

government has labeled a “supplemental indictment.” The government has explained that
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this charging vehicle was selected “[b]ecause the original indictment in this case charged

individuals other than [the defendant],” the government did not want the new charges

against Defendant McCafferty to alter the other charges against the remaining defendants,

and, therefore, the “new indictment does not ‘supersede’ the first indictment.” (Doc. No.

211, fn. 1; Doc. No. 212 fn. 1.) Indeed, the government has indicated in its briefing that

its decision to dismiss the original Indictment as against the defendant may depend upon

the Court’s ruling on the defendant’s motion addressing the issue of multiplicity. As a

result, the Court shall address the motions that relate to the original Indictment, as well as

those challenging the Supplemental Indictment.

Discussion

               Defendant’s Motion to Dismiss for Failure to State an Offense

               McCafferty challenges the sufficiency of ¶ 390 of the Indictment, and

seeks to have the original Indictment dismissed for failure to state an offense. She further

complains that the Supplemental Indictment did not correct this deficiency, and that this

new charging instrument actually “suffers from new and additional deficiencies […].”

(Doc. No. 198 at 1.)

               Rule 7(c)(1) of the Federal Rules of Criminal Procedure requires that an

indictment be a “plain, concise, and definite written statement of the essential facts

constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). See United States v.

Blandford, 33 F.3d 685, 704 (6th Cir. 1994) (quoting United States v. Piccolo, 723 F.2d

1234, 1238 (6th Cir. 1983) (en banc) (The Sixth Amendment requires an indictment to

“inform the defendant of ‘the nature and cause of the accusation.’”)). “An indictment is

generally sufficient if it ‘fully, directly, and expressly […] set[s] forth all the elements
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necessary to constitute the offense intended to be punished.’” United States v. Kuehne,

547 F.3d 667, 696 (6th Cir. 2008) (quoting United States v. Douglas, 398 F.3d 407, 411

(6th Cir. 2005)). The defendant asserts that the Indictment, as it relates to her, and the

Supplemental Indictment fail to meet this standard.

                In support of her argument, McCafferty relies on a series of perjury cases,

beginning with United States v. Eddy, 737 F.2d 564, 567 (6th Cir. 1984), which provide

that “the indictment must set out the allegedly perjurious statements and the objective

truth in stark contrast so that the claim of falsity is clear to all who read the charge.” Id. at

567 (internal citation omitted). Underscoring the fact that neither the original Indictment,

nor the Supplemental Indictment, set forth the precise questions posed by the FBI agent,

and the exact responses given by McCafferty, she argues that, under Eddy’s tutelage, the

Court must strike these charging instruments because the allegations contained therein

are “vague and ambiguous and fail to identify the alleged falsity of McCafferty’s alleged

statements with sufficient clarity to state the offense.” (Doc. No. 134 at 8; see Doc. No.

198.)

                The defendant’s reliance on Eddy and its progeny is misplaced. In

Blandford, the Sixth Circuit specifically rejected the use of Eddy and other perjury cases

for determining the sufficiency of an indictment alleging violations under 18 U.S.C. §

1001. Blandford, 33 F.3d at 705. Instead, relying on United States v. Gray, 790 F.2d

1290, 1296-97 (6th Cir.), rev’d on other grounds, 483 U.S. 350 (1987), the Sixth Circuit

observed that, under 18 U.S.C. § 1001:

        An indictment provides adequate notice to a defendant “when it permits the
        defendant to obtain significant protections which the guarantee of a grand jury

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       indictment was intended to confer.” The sufficiency of an indictment is governed
       by “two preliminary criteria:”

       First, whether the indictment “contains the elements of the offense intended to be
       charged, and sufficiently apprises the defendant of what he must be prepared to
       meet,” and, secondly, “in case any other proceedings are taken against him for a
       similar offense whether the record shows with accuracy to what extent he may
       plead a former acquittal or conviction.”

Blandford, 33 F.3d at 705 (quoting Gray, 790 F.2d at 1296-97) (internal citation omitted).

               In disposing of the defendant’s sufficiency argument, the court in

Blandford found that:

       Notwithstanding the fact that the indictment did not set forth the precise
       statements made by Blandford, we find that the indictment satisfied the principles
       enunciated in Gray. The indictment alleged that Blandford had made material
       statements that were false or fraudulent and that he had done so knowingly and
       willfully. It set forth the nature of the statements as well as when and to whom
       they were made. It also specified that the statements pertained to an activity
       within the jurisdiction of a federal agency.

Id.

               Similarly, while the original Indictment and the Supplemental Indictment

fail to set forth the precise questions asked and the defendant’s verbatim responses, they

each clearly state that the defendant made material false statements and that she did so

“knowingly and willfully.” They also identify the date in which the statements were

made, that they were made to FBI agents, and that statements pertained to activity within

the “jurisdiction of the executive branch of the Government of the United States.” As

such, both charging instruments clearly and distinctly set forth the elements of the




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offense.6 See United States v. McAuliffe, 490 F.3d 526, 530-33 (6th Cir. 2007)

(indictment charging mail fraud sufficient because indictment adequately alleged intent

and materiality elements); compare United States v. Landham, 251 F.3d 1072, 1082 (6th

Cir. 2001) (indictment charging violation of 18 U.SC. § 875(c) insufficient because

indictment omitted 2 of 3 essential elements of the claim). Moreover, both documents

provide adequate detail as to the nature of each statement such that the defendant is

sufficiently appraised of what she “must be prepared to meet,” and affords her protections

against a subsequent prosecution for the same offense.7 See Gray, 790 F.2d at 1297

(quoting Russell, 369 U.S. at 763-64). Nothing more is required by the Sixth Amendment

for charging an offense under § 1001.

                  The defendant rejects Blandford as authority, noting that the defendant in

Blandford had the benefit of two bills of particular. In evaluating the notice the

indictment provided the defendant, the Sixth Circuit did observe that the defendant was

supplied two bills of particular, which “provided a more detailed account of the precise




6
  18 U.S.C. § 1001(a) provides, in relevant part:
          Except as otherwise provided in this section, whoever, in any matter within the jurisdiction of the
          executive, legislative, or judicial branch of the Government of the United States, knowingly and
          willingly--
          (1)       falsifies, conceals or covers up by any trick, scheme, or device a material fact;
          (2)       makes any materially false, fictitious, or fraudulent statement or representation; or
          (3)       makes or uses any false writing or document knowing the same to contain any materially
                    false, fictitious, or fraudulent statement or entry;
          shall be fined under this title, imprisoned not more than five years […].
7
  The defendant does not argue that the statements were not “material” within the meaning of the statute.
“A statement is material for purposes of section 1001 if it has a natural tendency to influence, or be capable
of affecting or influencing, a function entrusted to a governmental agency. It is not necessary to show that
the statement actually influenced an agency, but only that it had the capacity to do so.” United States v.
Steele, 933 F.2d 1313, 1319 (6th Cir. 1991) (internal citations and quotations omitted). There can be no
question that the defendant’s statements could have influenced, in some way, the course of the FBI’s
investigation.
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statements […].” Id.8 Nonetheless, like the defendant in Blandford, the defendant, here,

has been provided additional factual details in the form of the interviewing agent’s 302

summary of the interview, along with the agent’s notes. She has also been provided with

the recordings of phone conversations, upon which the government has indicated that it

intends to rely to prove the falsity of the defendant’s statements. This information serves

to flesh out, in even greater detail, the charges and the basis of the charges.

                 In fact, while the defendant complains that she is missing the “objective

truth in stark contrast” that Eddy requires, it is clear that this information would add little

to her ability to defend this case. At the March 10, 2011 motion hearing, the Court asked

defense counsel how it would have crafted the indictment to provide this “objective truth

in stark contrast.” Counsel responded:

         Well, I guess one count could say that McCafferty, in response to a
         question as to whether or not Jimmy Dimora spoke to her and tried to
         influence her to favor Mr. Pumper over another litigant, she denied that in
         fact Mr. Dimora ever asked her to do that when in truth and in fact, on
         such and such a date, as she well then and there knew, Mr. Dimora in fact
         said those exact things to her.

(Doc. No. 231, March 10, 2011 Hearing TR at 39, emphasis added.) At least with respect

to this example, it is clear that the defendant already knows what Mr. Dimora said

because she has the recordings of the conversations upon which the government plans to

rely at trial.9 (See Session 13965, April 22, 2008 Phone Call from Dimora to Pumper and


8
  Of course, a bill of particulars cannot cure an otherwise defective indictment. See United States v.
Sturman, 951 F.2d 1466, 1479 (6th Cir. 1991) (citing Russell v. United States, 369 U.S. 749, 769-70
(1962)).
9
  In fact, in addition to other evidence that the government might have, it appears, at a minimum, that the
defendant has interceptions relating to each count of the Indictment and Supplemental Indictment. (See
Sessions 13965, 14940, and Session 3720, July 15, 2008 Phone Conversation between Russo and
Defendant McCafferty.)

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Session 14940, May 2, 2008 Phone Call from Pumper to Defendant McCafferty.)

Therefore, like Blandford, the defendant has all of the information necessary to

adequately defend the charges in the Indictment and Supplemental Indictment.

                 Further, a review of the defendant’s contentions with respect to individual

false statements set forth in Paragraph 390 of the original Indictment and the

Supplemental Indictment underscores the fact that the shortcomings the defendant

perceives in these documents do not go to their sufficiency. For example, the defendant

complains that the first false statement in the original complaint and in Count Two of the

Supplemental Indictment, in which the defendant is alleged to have denied that Mr.

Dimora had ever “intervened” in one of her cases, is vague. Noting that the word

“intervene” has a specific meaning in the law,10 the defendant suggests that her answer

could have been literally true if the questioner was attempting to determine whether Mr.

Dimora had ever participated in one of her cases as an intervenor. According to the

defendant, the Sixth Circuit rejected a similarly vague indictment in United States v.

Gatewood, 173 F.3d 983 (6th Cir. 1999).

                 In Gatewood, the indictment alleged that the defendant, a government

contractor, certified that he had made payments to subcontractors when he knew he had

not made full payment. Because the defendant had made some payments, but not all

payments, his certification was partially true. The court found that the indictment

“presents a false dichotomy, because certifying that one has made payments to




10
  In connection with litigation, the term “intervene” means to “interpose in a lawsuit as a third party.”
Oxford Dictionaries, available at http://www.oxforddictionaries.com (2011).
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subcontractors is not inconsistent with having yet to pay the subcontractors in full.” Id. at

987. The Court ultimately determined that the indictment was defective.

               In contrast, in United States v. DeZarn, 157 F.3d 1042 (6th Cir. 1998), the

indictment alleged that the defendant falsely told military investigators that he did not

accept campaign contributions at a “1991 Preakness Party.” Defendant argued that his

statement was literally true because there was no Preakness Party in 1991, but, instead in

1990. He claimed that he thought investigators were talking about a much smaller, and

much different, party that took place in 1991 where no contributions were solicited. He

argued that the indictment failed to demonstrate the “stark contrast” between the truth

and the statement defendant made. The court rejected the argument, noting that even

though the question was inaccurate, it was not ambiguous such that the defendant should

have understood its meaning. In reaching this conclusion, the court observed that the

meaning of the question was supplied by the context in which it was posed. Specifically,

the court observed that “the question and answer must be examined in the context of the

investigation as a whole and the state of the defendant's knowledge in order to determine

whether ambiguity exists.” Id. at 1048. The court found that it was clear from the entire

interview that the questioner was referring to the 1990 Preakness Party and not some

small dinner party that took place in 1991.

               Similarly, in United States v. Ahmed, 472 F.3d 427 (6th Cir. 2006), the

defendant made certain representations regarding his military service in applying for a

TSA job. Specifically, he stated that he had never left a job under unfavorable

circumstances, and he had never had his security clearance denied, suspended or revoked.

The defendant argued that these answers were true because he was honorably discharged
                                              11
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(though he had been reassigned following misconduct) and his security clearance had not

been revoked (though it had been “administratively downgraded”). Id. at 432. The court

found that the defendant’s argument really was “that under some conceivable

interpretation of the questions, his answers would not have been false.” Id. (emphasis in

original). The court rejected this argument as a means to defeat the indictment, and stated

that “that a defendant ‘can postulate unstated premises of the question that would make

his answer literally true’ does not bar the possibility of liability.” Id. (quoting United

States v. Cuesta, 597 F.2d 903, 920 (5th Cir. 1979)). Noting that the defendant’s

understanding of the question was a matter for the jury, the court indicated that

“[a]lthough the questions at issue here may indeed be broad, there is no basis to conclude

that they display the kind of fundamental ambiguity that would invalidate the

indictment.” Id. at 433.

                  Like the defendant in Ahmed, McCafferty’s argument really is that under

some interpretation of the word “intervene” her answer is facially true. Whether

McCafferty should have reasonably interpreted the term as the legal term of art of

intervention rather than someone who meddles or interferes, will become apparent from

the context in which it was asked--looking at the entire FBI interview.11 Thus, the

charging instruments, themselves, are not defective as to this allegation, and what the


11
   At one point, the government noted that “[b]ecause the alleged false statement in the indictment only
gives notice of the nature of the allegation, it is entirely possible that the word “intervene” was not actually
used by either the agents or the Defendant.” (Doc. No. 114 at 6, n. 2.) (Later, however, at the March 10,
2011 Hearing, the government clarified that it is clear from the agent’s 302 summary that the term
“intervene” was actually used during the interview) (See also Doc. No. 211, fn.2.) While McCafferty’s
counsel argued at the motion hearing that this observation by the government merely highlights the fact that
the Indictment fails to convey to the defendant information necessary for the preparation of her defense, the
language still lays out the nature of the statement. It remains for the jury to decide whether the defendant
believed that she was truthfully responding to the agent’s question.
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defendant believed the term “intervene” meant is a matter properly reserved for the jury.

See United States v. Kehoe, 562 F.2d 65, 68 (1st Cir. 1977). (“[T]he possibility that the

defendant understood the questions to be limited to one particular incident” does not raise

the issue of “literal truth.”)

                  McCafferty also complains that the second statement in the original

Indictment, realleged in Count Four of the Supplemental Indictment, is unconstitutionally

vague. This statement provides: “when asked if MCCAFFERTY called Pumper after a

settlement conference (concerning the DAS case) and told Pumper that she tried to settle

the case for less money, MCCAFFERTY denied the conversation occurred[.]”12

(Indictment at ¶ 390.) She argues that it is unclear whether the denial goes to whether a

conversation occurred at all, whether she discussed settlement with Pumper, or whether

she said that she tried to bring in the settlement at a lower monetary amount. (Doc. No.

134 at 11.) There is nothing vague about this statement. It clearly identifies a

conversation with Pumper, which took place after a settlement conference and, during

which, McCafferty told Pumper that she tried to settle the case for less money. The

sentence is written in the conjunctive, and specifically refers to a conversation that both

took place after a settlement conference and related to the settlement.13

                  The defendant also argues that terms like “attempt to influence,”

“involvement,” “sway,” and “special consideration” carry a variety of meanings and


12
   Count Four of the Supplemental Indictment provides: “MCCAFFERTY denied telling Pumper that she
tried to settle the DAS case for less money.”
13
   As for the fifth statement in the original Indictment, the Court rejects the defendant’s suggestion that the
statement is fatally deficient because it states that the defendant “indicated,” rather than “stated” that her
only conversations with Dimora and Russo were limited to their understanding that McCafferty was doing
a good job as a judge. The Indictment specifically advises the defendant that she is alleged to have
“knowingly and willfully made” five “material false statements […].” (¶ 390, emphasis added.)
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interpretations, and are ultimately a matter of opinion. The English language is far from

precise, and words often are susceptible to more than one interpretation. That the

defendant may have assigned one interpretation to a word or phrase, while the

interviewing agent may have intended another, does not render the charging instruments

fatally defective, but rather is a matter left for the trier of fact. See Kehoe, 562 F.3d at 68.

                  While neither Paragraph 390 nor the Supplemental Indictment should be

held up as the model for indictment drafting excellence, each satisfies Rule 7(c)(1)’s

requirement of a “plain, concise, and definite written statement of the essential facts

constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). That neither document sets

forth, in detail, the questions posed and the responses given does not render them

ineffective. See, e.g., Blandford, 33 F.3d at 705 (indictment sufficient to allege a violation

of § 1001 even though it “did not set forth the precise statements made by [the

defendant]”). See also United States v. Fernandez, 559 F.3d 303, 328 (5th Cir. 2009)

(indictment for murder sufficient under Rule 7(c)(1) even without alleging specific

manner and means offense was committed); United States v. Kuehne, 547 F.3d 667, 696

(6th Cir. 2008) (indictment for use of firearm in connection with a drug offense sufficient

under Rule 7(c)(1) though it failed to specify the particular underlying drug offense). The

defendant’s motion to dismiss the Supplemental Indictment for failure to state an offense

is, therefore, DENIED.14


14
   For all of the same reasons, the defendant’s original motion to dismiss the original Indictment for failure
to state an offense (Doc. No. 134) is also DENIED.




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               Defendant’s Motion to Dismiss for Duplicity

               The defendant argues that the charging of five separate false statements in

a single count rendered the original Indictment duplicitous. “An indictment is duplicitous

if it sets forth separate and distinct crimes in one count.” United States v. Davis, 306 F.3d

398, 415 (6th Cir. 2002). “As rules of pleading, the defects of duplicity and multiplicity

are not fatal to an indictment but may be cured by reformulation. In determining whether

there is duplicity or multiplicity the decisive criteria are legislative intent and separate

proof. When legislative intent is ambiguous, the rule of lenity prescribes that doubt will

be resolved against turning a single transaction into multiple offenses.” United States v.

Duncan, 850 F.2d 1104, 1108 n.4 (6th Cir. 1988) (citing Bell v. United States, 349 U.S.

81, 83-84 (1955)).

               The ban against duplicitous indictments is premised on four primary

concerns: first, the indictment may fail to give a defendant adequate notice of the nature

of the charges against him; second, it may subject the defendant to prejudicial evidentiary

rulings; third, it may result in an inadequate trial record to protect against subsequent

prosecution for the same offense; and fourth, such indictment may present a risk that the

jury may have convicted the defendant by a nonunanimous verdict. United States v.

Kakos, 483 F.3d 441, 443 (6th Cir. 2007) (“[T]he primary concern is that a defendant

may be deprived of his right to a unanimous verdict.”); United States v. Moloney, 287

F.3d 236, 239 (2d Cir. 2002) (internal citation omitted) (“reasons underlying the rule

against duplicitous indictments” include “protecting against double jeopardy in a

subsequent prosecution”); United States v. Kimberlin, 781 F.2d 1247, 1250 (7th Cir.

1985). But see, e.g., United States v. Buchmeirer, 255 F.3d 415, 426 (7th Cir. 2001)
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(duplicitous indictment did not violate right to notice because specificity of counts

properly notified defendant of charges against him); United States v. Sharpe, 193 F.3d

852, 870-71 (5th Cir. 1999) (duplicitous indictment did not risk double jeopardy because

indictment specifically included statements that were the foundation for the government’s

case).

                Rule 7(c) permits a prosecutor to allege “in a single count […] that the

defendant committed [the offense] by one or more means.” Fed. R. Crim. P. 7(c). Courts

have noted that it is appropriate to charge separate criminal acts in one count where the

acts are part of a single conspiracy or continuing scheme. See United States v. Kelley, 461

F.3d 817, 830 (6th Cir. 2006) (numerous acts to garner over $100,000 from the same

person properly plead in single count because all part of the same conspiracy); United

States v. Stewart, 433 F.3d 273, 319 (2d Cir. 2006) (indictment charging “several

different types of fraudulent conduct” not duplicitous because not different offenses but

means of committing single offense); United States v. Damrah, 412 F.3d 618, 622-23

(6th Cir. 2005) (indictment charging multiple means of committing single offense not

duplicitous).

                In the context of false statement cases under 18 U.S.C. § 1001, the

charging of multiple false statements in a single count is appropriate where the

indictment also charges that the statements were made as part of a “scheme” under §

1001(a)(1). See, e.g., United States v. Hubbell, 177 F.3d 11, 14 (D.C. Cir. 1999)

(indictment charging numerous false statements of concealment not duplicitous because

count alleged scheme of concealment of material facts). While a number of conspiracies

are plead throughout the Indictment, ¶ 390 does not allege that the defendant made the
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false statements as part of a scheme under § 1001(a)(1). Rather, a fair reading of the

original Indictment leads to the conclusion that the defendant had been charged with

making false statements under § 1001(a)(2). Consequently, the government cannot rely

on § 1001(a)(1) to justify the charging of several statements in one count.

               Further, the defendant points to the Sixth Circuit’s decision in United

States v. Dedman, 527 F.3d 577 (6th Cir. 2008), wherein the court noted that, while the

defendant waived the right to challenge his indictment on duplicity grounds by failing to

raise the issue before trial, the grouping of several allegedly false statements in one count

was duplicitous. Specifically, the court observed that under § 1001, “[s]eparate allegedly

false statements […] are not ‘multiple factual predicates’ but rather are entirely separate

offenses; even in [United States v. Hixon, 987 F.2d 1261, 1264 n. 3 (6th Cir. 1993)], with

statements made on four separate occasions, the government had the good sense to charge

each statement as a separate violation of § 1001 in its own count.” Id. at 600, n.10.

               The government points out that the duplicity language in Dedman is dicta,

and is, therefore, not binding on this Court. It also suggests that applying the teaching in

Dedman would be inappropriate in cases like the present action, where the false

statements were made in the context of a single event. While it is unclear whether the

false statements in Dedman were made during the same interview, the government

underscores the fact that in Hixon, the case relied upon by the court in Dedman, false

statements that were made “on four separate occasions.” Hixon, 987 F.2d at 1264, n. 3.

               Instead, the government directs the Court’s attention to cases, such as

Duncan, where the false statements were made in the course of a single event. The court

in Duncan refused to find such an indictment duplicitous, and warned that:
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        An indictment that charged a defendant who had made multiple false statements
        on a single tax return with multiple counts of violating the statute might expose
        the defendant to greater punishment than Congress intended and therefore be
        subject to dismissal as a multiplicitous indictment.

Duncan, 850 F.2d at 1111 n.7. Other courts have found it appropriate to charge multiple

false statements in a single count where the statements were all made in the same event or

on the same document. See, e.g., United States v. Fassnacht, Case No. 01 CR 63, 2002

WL 63523, *5 (N.D. Ill. Jan. 14, 2002) (false statements to IRS agent during the same

interview plead in one count did not render the indictment duplicitous); United States v.

Goodrich,15 919 F.2d 1365, 1368 (9th Cir. 1990) (in perjury case, multiple false

statements plead in same interview not duplicitous); United States v. Mangieri, 694 F.2d

1270, 1281 (D.C. Cir. 1982) (multiple false statements in a single loan application

charged in same count not duplicitous). But see Shad v. Arizona, 501 U.S. 624, 634-35

(1991) (disapproving of the practice in Duncan, and other courts, of distinguishing

between acts within one “conceptual grouping,” which are sufficiently similar to obviate

the need for the jury to agree as to which act was committed, versus unrelated acts in

“distinct conceptual groupings,” which are “so unrelated that the jury must decide

separately”).

                 Here, the false statements the defendant is alleged to have made to the FBI

were made in the course of a single interview over a short period of time. While the


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 In Goodrich, the court observed that:
        The essential conduct that constitutes the making of a false material declaration is ordinarily the
        same regardless of the number of questions and answers it takes to elicit the tale, where a
        defendant or a witness tells a false story to exonerate himself or another. Also, it is well settled
        law that more than one specification of falsity may be included in a single count of perjury, as was
        done here.
Goodrich, 919 F.2d at 1368.

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defendant believes that confining these related statements to one count is improper, the

government would argue that separating them out into five separate crimes might have

the effect of punishing the defendant beyond congressional intent.16

                  This debate, however, is academic in that any harm from charging

multiple acts in a single count can be remedied by an augmented unanimity charge and

special verdict forms. “Courts rejecting duplicity challenges to multiple-predicate counts,

however, often premise their rulings on the condition that later augmented jury

instructions will adequately protect the defendant against the risk of nonunamious

verdict.”17 Duncan, 850 F.2d at 1108 n.4. See United States v. Kakos, 483 F.3d 441, 443

(6th Cir. 2007) (internal citation omitted). (“Proper jury instructions can mitigate the risk

of jury confusion and alleviate the doubt that would otherwise exist as to whether all

members of the jury had found the defendant guilty of the same offense.”). See, e.g.,

United States v. Starks, 472 F.3d 466, 471 (7th Cir. 2006) (duplicitous indictment not

fatal because risk of nonunanimous verdict cured by jury instruction on need for

unanimous agreement and use of special verdict form); United States v. Trammell, 133

F.3d 1343, 1354-55 (10th Cir. 1998) (same).

                  The defendant suggests, however, that because she is raising her duplicity

argument prior to trial, her remedy is to have the government either dismiss the


16
   As previously noted, at the January 27, 2011 hearing on this motion, counsel for the defendant stated that
it would have been preferable to use the five statements as the foundation for five separate false statement
counts. (January 27, 2011 Hearing TR at 34-35.)
17
   The risk of a guilty verdict in which individual jurors would not agree on the same false statements(s)
appears to be the only concern that might arise from ¶ 390 of the Indictment, as it is written. The Court has
already determined that the language is sufficient to fully apprise the defendant of the charges against her,
and is, therefore, also sufficiently specific to guard against subsequent prosecution for the same offenses.
Nor does it appear likely that the present drafting of the Indictment would lead to prejudicial evidentiary
rulings, and the defendant does not suggest that this is a likely risk.
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Indictment or elect which offense on which to proceed. It is true that a defendant will

waive a duplicity argument if it is not raised prior to trial. See Dedman, 527 F.3d at 600

n.10; United States v. Creech, 408 F.3d 264, 270 (5th Cir. 2005); United States v.

Klinger, 128 F.3d 705, 708 (9th Cir. 1997). It is equally true that one remedy available to

a defendant faced with a duplicitous indictment is to have the government dismiss or

elect the count or charge within the count on which the government will rely. See United

States v. Ramirez-Martinez, 273 F.3d 903, 915 (9th Cir. 2001), overruled on other

grounds by United States v. Lopez, 484 F.3d 1186, 1191 (9th Cir. 2007); United States v.

Hood, 210 F.3d 660, 663 (6th Cir. 2000); United States v. Robinson, 651 F.2d 1188, 1194

(6th Cir. 1981). The defendant, however, offers no support for the idea that this is the

only remedy available to correct the possible risk from a duplicitous indictment, and the

Court finds none.

               Instead, the law provides that “a defendant indicted pursuant to a

duplicitous indictment may be properly prosecuted and convicted if either (1) the

government elects between the charges in the offending count, or (2) the court provides

an instruction requiring all members of the jury to agree as to which of the distinct

charges the defendant actually committed.” Ramirez-Martinez, 273 F.3d at 915 (emphasis

added). See Hood, 210 F.3d at 663 (“A defendant may move, as did Hood, to require the

government to ‘elect either the count or the charge within the count upon which it will

rely’ or the court may ‘particularize the distinct offense charged in each count’ in its jury

instruction.”); Robinson, 615 F.2d at 1194 (“Defendant’s remedy is to move to require

the prosecution to elect […]. Additionally, a duplicitous or multiplicitous indictment is

remediable by the court’s instruction to the jury particularizing the distinct offense
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charged in each count in the indictment.”) See also Trammell, 133 F.3d at 1354-55

(noting that, even if the defendant had timely raised the issue of duplicity, “any possible

error was cured by the district court’s instruction”). See, e.g., United States v. Manuskar,

557 F.3d 219, 226-27 (5th Cir. 2009) (unanimity instruction held to guard against a non-

unanimous verdict).

               Thus, even if the Indictment is duplicitous, a properly augmented jury

instruction, with special verdict forms, will eliminate any risk of a nonunanimous verdict.

The defendant’s motion to dismiss the Indictment for duplicity, therefore, is DENIED.

               Defendant’s Motion to Dismiss for Multiplicity

               Given the defendant’s position that the original Indictment was

duplicitous, and her counsel’s position at the January 27, 2011 motion hearing that

separating the false statements into multiple counts would have been preferred, it is not

surprising that the government issued the Supplemental Indictment with multiple separate

counts. While the defendant believed that the original Indictment was fatally flawed for

charging too many statements in one count, the pendulum has now swung in the other

direction causing the defendant to argue that the separation of these statements into

individual counts renders the Supplemental Indictment fatally flawed as multiplicitous.

               “’Multiplicity’ involves charging the same criminal offense in two or more

counts of an indictment or information,” United States v. Ragland, 3 Fed. Appx. 279, 284

(6th Cir. 2001) (citing United States v. Stanfa, 685 F.2d 85, 86-7 (3rd Cir. 1982)). The

harm of multiplicity is that it may result in a defendant being punished twice for the same

crime, or may unfairly suggest that more than one crime has been committed. United

States v. Swafford, 512 F.3d 833, 844 (6th Cir. 2008). “Where, as here, an indictment
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includes more than one count charging the same statutory violation, the question is

whether Congress intended the facts underlying each count to constitute a separate unit of

prosecution.” United States v. Hinkeldey, 626 F.3d 1010, 1013 (8th Cir. 2010).

               When it is alleged that multiple false statements have been made, “each

statement must set forth a separate lie or false statement, and in cases where the facts

present a close question of whether separate lies exist, it is relevant to inquire into the

degree to which the second statement impaired the body before which it was made.”

United States v. Clarridge, 811 F. Supp. 697, 703 (D.D.C. 1992). See Ragland, 3 Fed.

Appx. at 284 (Two questions posing the same inquiry cannot support multiple counts of

perjury inasmuch as “a single lie merits only one punishment.”); United States v. De la

Torre, 634 F.2d 792, 794 (5th Cir. 1981) (only false statements which are “separate,

distinct and unrelated” are appropriately charged as separate counts); United States v.

Williams, 552 F.2d 226, 228 (8th Cir. 1977) (quoting United States v. Gebhard, 422 F.2d

281, 289-90 (9th Cir. 1970)) (“[I]t is improper for the government [to] bludgeon a

witness who is lying by repeating and rephrasing the same question, thus creating more

possible perjury counts.”)

               Thus, it is improper for a government agent merely to repeat or rephrase

the same question in order to extract multiple false statements. See Clarridge, 811 F.

Supp. at 704 (internal citation omitted) (“Separate counts are only appropriate when the

‘inquiries [are] directed to a separate facet of the overall transaction being

investigated.’”) However, the Court is also mindful that “[b]ecause testimony alleged to

be perjurious must be proved to be literally false, United States v. Bronston, 409 U.S.

352, 360-61, 34 L. Ed. 2d 568, 935 S. Ct. 595 (1973), it is entirely proper for the
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Government to frame indictments that cite separate specifications of perjury for answers

that vary in subtle but meaningful ways.” United States v. Jones, 351 F. Supp. 2d 121,

127 (S.D.N.Y 2004). The task before this Court will be to determine whether the

questions and answers varied in subtle but meaningful ways, or whether the interviewing

agent merely repeated or rephrased the same question resulting in one alleged lie repeated

multiple times.

              The defendant claims that three groupings of counts are multiplicitous.

First, the defendant argues that Counts 1, 2, and 3 are multiplicitous. In Count One, the

defendant is alleged to have denied “that Dimora attempted to influence her actions in

any cases before her court;” in Count Two, the defendant is alleged to have denied that

“Dimora attempted to intervene in any of the cases before [the defendant’s] court;” in

Count Three, the defendant is alleged to have denied “any involvement by Dimora in any

of the cases before her court.” (Emphasis added.)

              The defendant argues that “attempted to influence,” “attempted to

intervene,” and “any involvement” all ask the same question, and, therefore, extracted the

same alleged lie. The government maintains that each question requires proof of a

different fact because “attempted to influence” is confined to an attempt by Dimora to

affect one of the cases on the defendant’s docket, while “any involvement” relates to any

action actually taken by Dimora in any case. Further, “attempt to intervene,” according to

the government, relates to efforts by Dimora to insert himself into one of the defendant’s

cases. (March 10, 2011 Hearing TR at 28-29.)

              Two facts prevent the Court from adopting the government’s position.

First, at the motion hearing on March 10, 2011, the government conceded that each of
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these three questions was directed toward the relationship between Dimora and the cases

on the defendant’s docket.18 Second, and perhaps more telling, the government conceded

that if the defendant had answered the first of the three questions in the affirmative, the

agent would not have asked the other two. (March 10, 2011 Hearing TR at 25.) It is clear,

therefore, that each of these questions was not designed to seek different information, and

that the agent was merely rephrasing the same question in an attempt to ensure that the

defendant fully understood what that information sought actually was. The Court finds

that the first three counts are multiplicitous.19

                 The defendant also argues that Counts 4, 5, and 6 are multiplicitous. Count

4 alleges that the defendant “denied telling Pumper that she tried to settle the DAS case

for less money;” Count 5 alleges that the defendant “denied trying to sway the DAS case

settlement negotiations for Pumper;” and Count 6 alleges that the defendant “denied

trying to settle the DAS case so that Pumper would pay less […].”

                 The government insists that Counts 4 and 6 require proof of different facts

because Count 4 asks whether the defendant called Pumper to tell him that she tried to

settle the case for less money, while Count 6 inquires into whether the defendant did,

indeed, try to settle the case for less money. The former focuses on the defendant’s




18
   Specifically, AUSA Antoinette Bacon said, “[t]rue, Your Honor, they’re about, generally speaking, the
same broad topic, each question, that broad topic being did Jimmy Dimora improperly contact the judge,
try to do it, attempt to do it, in a way that gave somebody an advantage over another in the litigation.”
(March 10, 2011 Hearing TR at 26.)
19
   While not dispositive, the Court’s conclusion is buttressed by the fact that each subsequent lie in this
grouping would not have further hampered the FBI’s investigation. Rather, a similar lie on the same day to
the same governmental agency did not further impair the operations of the FBI. See Clarridge, 811 F. Supp.
at 703 (applying the “impairment to government operations” inquiry to determine multiplicity).

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placement of the alleged ex parte phone call, while the latter goes to the defendant’s

efforts during settlement. The Court agrees that Counts 4 and 6 are not multiplicitous.

               Further, the government argues that Counts 5 and 6 seek different facts

because Count 6 asks the limited question of whether the defendant tried to get a lower

settlement price for Pumper, while Count 5 could include the defendant’s attempts to get

any favorable results (monetary or non-monetary) for Pumper. According to the

government, Count 5 would encompass any favorable terms that the defendant could

have sought for Pumper. The Court is not convinced. The purported falsity in each count

is established solely by proof that the defendant tried to get a more favorable settlement

for Pumper. Counts 5 and 6 are, therefore, multiplicitous. See, e.g., Clarridge, 811 F.

Supp. at 705 (While one question asked the defendant about his knowledge of a military

shipment to Iran, without limitation as to the source of that knowledge, and the second

question specifically inquired as to his knowledge and the source, both were directed to

the same facet of the investigating committee’s inquiry and were multiplicitous.)

               Finally, the defendant complains that the charges in the last grouping,

Counts 7, 8 and 9, are multiplicitous. Count 7 alleges that the defendant denied “that

Frank Russo ever spoke to her about any of the cases in her court;” Count 8 alleges that

the defendant stated that “the only conversation with Russo about her court would have

been Russo’s comments that he heard from attorneys that she was doing a good job as a

judge;” and Count 9 alleges that the defendant stated that “the closest thing about a case

that either Dimora or Russo would have said to her was that he (Dimora or Russo) knew

an attorney who said that he (the attorney) was in McCafferty’s court.”


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                 The defendant claims that all of these statements charge an offense based

on statements regarding facets of the same issue. The government insists, however, that

these statements each go to different inquiries. Count 7, the government notes, is limited

to “cases” before the defendant, while Count 8 involves anything having to do with the

defendant’s court and could include “matters” before the defendant, which could entail

more than just cases.20 Count 8 also was limited to what Russo “heard.” As for Count 9,

the government notes that it is the only count that includes any conversations with

Dimora. The government also underscores the fact that the defendant previously attacked

the statements in Counts 7 and 8 as duplicitous. The government complains that the

defendant cannot “have it both ways.” (Doc. No. 212 at 5.)

                 The Court is not persuaded by the government’s distinction between a

“case” and a “matter.”21 Moreover, the Court finds that each of these statements goes to

the same inquiry; namely, what, if any, conversations did the defendant have with either

Dimora or Russo regarding cases in her court. The Court finds, therefore, that this

grouping contains multiplicitous counts.

                          What remedy?

                 Having held that certain counts suffer from multiplicity, the Court is faced

with the question of what to do about it. The defendant insists that the proper remedy is to

force the government to dismiss or elect among the multiplicitous counts. The


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   The government also argued that while Count 7 deals with any conversations the defendant had with
Russo regarding her court, Count 8 is limited to the narrow and specific conversation wherein Russo stated
that “I heard from attorneys you’re doing a great job as a judge.” (March 10, 2011 Hearing TR at 33.)
21
   At the motion hearing on March 10, 2011, the government explained that a matter in the defendant’s
court could include events, such as requests for wiretaps, which do not receive a case number and appear
on a judge’s docket. (March 10, 2011 Hearing TR at 34-35.)

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government complains that requiring it to elect will hamper its ability to fully present its

case to the jury, arguing that each count sets forth a separate false statement made by the

defendant during the interview. While the government concedes that multiple convictions

would not result in multiple punishments because the convictions would merge at

sentencing, it represents that it can prove the falsity of each statement made, and that it

should be permitted to present each and every statement to the jury for its consideration.

                  “[T]he prosecution has broad discretion in bringing criminal cases […].”

United States v. Thornburg, 921 F.2d 654, 657 (6th Cir. 1990) (citing Ball v. United

States, 470 U.S. 856, 859 (1985)). See United States v. Platter, 435 F. Supp. 2d 913, 915-

16 (N.D. Iowa 2006) (“The government has considerable discretion in fashioning the

counts of an indictment.”) Further, “the district court has discretion in deciding whether

to require the prosecution to elect between multiplicitous counts especially ‘when the

mere making of the charges would prejudice the defendant with the jury.’” Thornburg,

921 F.2d at 657 (quoting United States v. Reed, 639 F.2ds 896, 904 n.6 (2d Cir. 1981)).

                  When multiplicity becomes apparent before trial, it may be appropriate to

require the government to chose the count on which it will continue and dismiss the

remaining counts.22 See Swafford, 512 F.3d at 845-46; United States v. Seda, 978 F.2d

779, 782 (2d Cir. 1992), overruled on other grounds by United States v. Chacko, 169 F.3d


22
   The defendant cites Clarridge in support of her request for election, but Clarridge is easily
distinguishable. In Clarridge, the court found that, not only were the perjury charges multiplicitous, they
were also so specifically similar that there was a risk of inconsistent verdicts if the jury were to find the
defendant guilty of one and not the other. Clarridge, 811 F. Supp. at 705. Because the responses to both
questions addressed the same November 19, 1984 meeting between Oliver North and the defendant, the
threat of inconsistent verdicts made election the only option. Here, while many of the charges are
multiplicitous, the slight distinctions between each statement, coupled with the imprecision of the English
language, mean that it would be possible for the jury to find certain false statements to have been made
without finding others, all without the possibility of inconsistent verdicts.
                                                        27
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140 (2d Cir. 1999). The government argues that the Court need not require election in

this case, however, because all of the statements merge under the United States

Sentencing Guidelines such that the defendant would only be exposed to one combined

guideline sentence.

               In United States v. Thornburg, the Sixth Circuit held that the district court

did not err in refusing to require the government to elect between counts of possession of

ammunition and possession of a firearm. In reaching this conclusion, the court relied

upon the Supreme Court’s decision in United States v. Ball, wherein the high court

approved of the practice of waiting until sentencing to correct any possible multiplicity.

The court in Thornburg observed that:

       Ball, then, was ample authority for the district court to defer to the
       government’s discretion to conduct the prosecution in this case upon
       multiplicitous counts, recognizing that the court could merge the
       convictions after the jury verdicts are recorded.

Thornburg, 921 F.2d at 657 (citing Ball, 470 U.S. at 859).

               Likewise, in United States v. Johnson, 130 F.3d 1420, 1426 (10th 1997),

the Tenth Circuit held that firearm convictions under 18 U.S.C. §§ 922(g)(1) and

922(g)(3) were multiplicitous, but that the government was not required to elect between

the two counts before trial. In reaching this conclusion, the court noted that it was within

the district court’s discretion to permit the government to present both theories to the

jury. Id. See United States v. Shea, 211 F.3d 658, 673 (1st Cir. 2000) (“[I]t is clear

enough that the government is entitled to get both theories before the jury, whether in one

count or two. In all events, we do not treat the multiple ‘convictions’ as clear error.”)



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               Here, the Court believes that the government should be permitted to

present its case, as charged, to the jury, given its representation that each of the

statements set forth in the charges was denied by the defendant. Any danger of multiple

sentences for the same offense will be alleviated at sentencing when all of the statements

found by the jury to be false, if any, will merge under the sentencing guidelines. Further,

the Court finds that the possibility that the defendant will be prejudiced by the mere

charging of multiple counts under § 1001 is minimal, inasmuch as the entire case

revolves around the answers the defendant gave to one FBI agent during the course of a

single interview. See, e.g., United States v. Harwell, 426 F. Supp. 2d 1189, 1192 (D. Kan.

2006) (“The risk of false impression here does not appear to be great or unfairly

prejudicial to the defendant, as the entire case involves simply the defendant’s alleged

possession of two weapons on a single day […].”) See Thornburg, 921 F.2d at 657

(Dismissing the defendant’s argument that he was unduly prejudiced due to the

government’s presentation of a felon in possession of firearm count and a felon in

possession of ammunition count, where the two counts merged for sentencing purposes.)

               The potential for prejudice can be further reduced by jury instructions that

advise the jury that all of the alleged false statements took place in one two and one-half

hour interview, and that require the jury to consider each statement separately. See, e.g.,

United States v. Chipps, 410 F.3d 438, 449 (8th Cir. 2005) (citing Weeks v. Angelone,

528 U.S. 225, 234 (2000) (holding that multiplicitous counts did not prejudice the

defendant because “’[t]he district court’s instructions to the jury indicated that each

charge was to be considered separately [… and because] [j]uries are presumed to follow

instructions.”)). In addition, the submission of all counts on a single verdict form, or
                                            29
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grouped in such a way that each grouping of multiplicitous counts is contained on the

same verdict form, will also lessen the possibility of prejudice. See e.g., United States v.

Moore, 149 F.3d 773, 779 (8th Cir. 1998).

                  The government was content to try this case on one count of making false

statements, but the defendant insisted on baiting the government by challenging that

approach as duplicitous and by maintaining that multiple counts would have been

preferable. The Supplemental Indictment was the inevitable consequence.23 The Court

finds that the government has a right to present the case as charged against the defendant,

and that any potential prejudice can be neutralized by proper limiting instructions, jury

verdicts, and the merger of multiplicitous counts at sentencing. The defendant’s motion to

dismiss the Supplemental Indictment or to require the government to elect on grounds of

multiplicity is DENIED.

                  Defendant’s Revised Request for a Bill of Particulars

                  Finally, the defendant seeks a bill of particulars that would set forth the

precise questions posed by the FBI agent, the precise answers given by the defendant, the

“objective truth in stark contrast” for each false statement, and “[i]n what respect [each

statement] was false.” (Doc. No. 33 at 1.) She also requests that the government identify

the “and others” identified in various counts, and state the length of time the FBI

interview is alleged to have consumed. The government denies that the defendant is

entitled to this relief.



23
  Even the defendant concedes that the government had a right to charge several counts under § 1001. At
the March 21, 2011 hearing, defense counsel, while contending that the 10-count indictment was
multiplicitous, stated that “And our position is that probably there should really be only four counts, five at
the most, depending on how you quite look at it.” (March 10, 2011 Hearing TR at 17.)
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               Rule 7(f) provides for the filing of a request for a bill of particulars. Fed.

R. Crim. P. 7(f). “The function of a bill of particulars is ‘to minimize surprise and assist

[the] defendant in obtaining information needed to prepare a defense and to preclude a

second prosecution for the same crimes.’” United States v. Crayton, 357 F.3d 560, 568

(6th Cir. 2004) (quoting United States v. Salisbury, 983 F.2d 1369, 1375 (6th Cir. 1993)).

“Thus, the test in ruling on a motion for a bill of particulars is whether providing such

details is necessary to the preparation of the defense and avoidance of prejudicial

surprise.” United States v. Musick, 291 Fed. Appx. 706, 723 (6th Cir. 2008). See United

States v. Matos-Peralta, 691 F. Supp. 780, 791 (S.D.N.Y. 1988) (“The ultimate test must

be whether the information sought is necessary, not whether it is helpful.”)

               “A bill of particulars ‘is not meant as a tool for the defense to obtain

detailed disclosure of all evidence held by the government before trial[,]’” Crayton, 357

F.3d at 568 (quoting Salisbury, 983 F.2d at 1375), nor may a defendant use a bill of

particulars to discover the government’s legal theory of the case. United States v.

Gabriel, 715 F.2d 1447 (10th Cir. 1983); United States v. Marks, 364 F. Supp. 1022,

1030 (E.D. Ky. 1973), aff’d, 520 F.2d 913 (6th Cir. 1975), rev’d on other grounds, 430

U.S. 188 (1977). Further, the decision to require a bill of particulars is left to the

discretion of the trial court. See United States v. Musick, 291 Fed. Appx. 706, 723 (6th

Cir. 2008); United States v. Perkins, 994 F.2d 1184, 1190 (6th Cir. 1993).

               As discussed above, the Court has determined that both ¶ 390 of the

original Indictment and the Supplemental Indictment set forth sufficient detail in which to

fully advise the defendant of the charges against her, including the details surrounding the

underlying telephone conversations she is alleged to have had with Dimora, Pumper and
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Russo, as well as the nature of the statements she made to the FBI regarding these

conversations. With respect to discovery, the defendant has also been provided with the

recordings of the intercepted calls, as well as the FBI interviewer’s notes from the

defendant’s interview and the government’s 302 document summarizing the interview.

The defendant, therefore, has before her the facts and circumstances leading to this

prosecution. Consequently, a bill of particulars is not necessary to avoid surprise at trial

or to permit the defendant to prepare her defense. See Musick, 291 Fed. Appx. at 724 (the

materials provided the defendant, when viewed in totality, adequately apprised the

defendant of the charges against him and prevented prejudicial surprise at trial, such that

a bill of particulars was not necessary); United States v. Blanchard, 542 F.3d 1133, 1140-

41 (7th Cir. 2008) (motion for bill of particulars properly denied because indictment and

knowledge of evidence seized sufficient to inform defendant of charges and enable

defendant to prepare defense). In addition, as the Court has already determined, both

charging instruments are sufficiently detailed to ensure that the defendant will not be

twice prosecuted for the same offenses. See United States v. Ridley, 199 F. Supp. 2d 704,

708 (S.D. Ohio 2001) (indictment sufficiently detailed to overcome double jeopardy

concerns).

               For all of these reasons, the defendant’s revised motion for a bill of

particulars is DENIED. For the same reasons, the defendant’s previous motion for a bill

of particulars is also DENIED.

Conclusion

               For all of the foregoing reasons, the defendant’s motion to dismiss the

indictment or to compel the government to elect on the grounds of duplicity (Doc. No.
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135), the defendant’s motion to dismiss the supplemental indictment for failure to state an

offense (Doc. No. 198), the defendant’s motion to dismiss the supplemental indictment or

to compel the government to elect among various counts on grounds of multiplicity (Doc.

No. 199), and the defendant’s revised motion for a bill of particulars (Doc. No. 200) are

DENIED.

               The Court has now ruled on the sufficiency and propriety of the

Indictment and Supplemental Indictment. These documents together, however, present

duplicative charges for five of the statements. As such, as to those five statements, the

charges are duplicative and multiciplicitous, and the government must select or elect so

that only one charge remains as to each statement. The government shall have leave until

March 17, 2011 at 1:00 pm to file a motion to dismiss those charges it does not plan to

prosecute.

               IT IS SO ORDERED.


Dated: March 16, 2011
                                                 HONORABLE SARA LIOI
                                                 UNITED STATES DISTRICT JUDGE




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